Case 1:07-cv-00012-TH Document 46 Filed 04/14/08 Page 1 of 12 PagelID#: 276

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
BEAUMONT DIVISION

Judy Gauthier, et. al. § C.A. NO. 1:07-CV-00012-TH
§

V. § Judge Thad Heartfield
§

Union Pacific Railroad Company, et. al. § JURY

 

STATEMENT OF ISSUES TO BE DECIDED BY THE COURT
Defendants, Union Pacific Railroad Company, Andrew F. Granger, Brent

Waguespack, Ken Rouse, Jack Mann, and National Railroad Passenger Corporation d/b/a

Amtrak (hereinafter collectively referred to as “Defendants”’), hereby assert that the

following issues are before this Court on the subject Motion for Partial Summary Judgment

Regarding Survival Action:

1. Whether plaintiffs’ survival action claim should be dismissed with prejudice as there
is no affirmative evidence that Larry Gauthia consciously suffered any pre-death
pain, an essential element of proof necessary to recover survival action damages.
Defendants assert that as there is no affirmative evidence to show that Larry
Gauthia was conscious after the accident and did in fact suffer pain, plaintiffs’
survival action claim should be dismissed as a matter of law.

Respectfully submitted,

McLEOD, ALEXANDER, POWEL & APFFEL
A Professional Corporation

Douglas W. Poole (TBA: 16115600)

William R. Floyd (TBA: 07188407

802 Rosenberg, P.O. Box 629

Galveston, TX 77553
(409)763-2481 ~ Fax: (409)762-1155

 
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DAVIDSON, MEAUX, SONNIER
&McELLIGOTT- _,~

L ee L C os
BY: fo ee ><
KYLE L. GIDEON (#14288)

810 South Buchanan Sroql

Post Office Drawer.2908«

Lafayette, LA 70502-2908 ~
(337) 237-1660 — Fax: (337)237-3676

BENCKENSTEIN & OXFORD, L.L.P.
Hubert Oxford, Ill (TBA: 15392000)
3535 Calder Ave., Ste. 300
Beaumont, TX 77706
(409)833-9182 — Fax: (409)833-8819

Attorneys for: National Railroad Passenger
Corporation, Union Pacific Railroad Company,
Andrew F. Granger, Brent Waguespack, Ken
Rouse and Jack Mann

CERTIFICATE OF SERVICE

te.
| HEREBY CERTIFY that on the wt day of April, 2008, a copy of the foregoing
was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this
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STATEMENT OF UNDISPUTED MATERIAL FACTS

Defendants, Union Pacific Railroad Company, Andrew F. Granger, Brent
Waguespack, Ken Rouse, Jack Mann, and National Railroad Passenger Corporation d/b/a
Amtrak (hereinafter coliectively referred to as “Defendants”), hereby assert that the
following material facts relevant to the subject Motion for Partial Summary Judgment
Regarding Survival Action are not in dispute:

1. Larry Gauthia was not conscious between the time of the occurrence of the accident
and the time of his death.
2. Larry Gauthia did not experience any conscious pain or suffering between the time
of the occurrence of the accident and the time of his death.
Respectfully submitted,
McLEOD, ALEXANDER, POWEL & APFFEL
A Professional Corporation
Douglas W. Poole (TBA: 16115600)
William R. Floyd (TBA: 07188407
802 Rosenberg, P.O. Box 629

Galveston, TX 77553
(409)763-2481 — Fax: (409)762-1155

 
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DAVIDSON, MEAUX, SONNIER
& Me

BY: oe
KYLE L. aISEON aa
810 Soufin Buchanan =

 

Post Office Drdwer 290
Lafayette, LA 70502-2908
(337) 237-1660 — Fax: (337)237-3676

BENCKENSTEIN & OXFORD, L.L.P.
Hubert Oxford, III (TBA: 15392000)
3535 Calder Ave., Ste. 300
Beaumont, TX 77706
(409)833-9182 — Fax: (409)833-8819

Attorneys for: National Railroad Passenger
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
BEAUMONT DIVISION

Judy Gauthier, et. al. § C.A. NO. 1:07-CV-00012-TH
§

V. § Judge Thad Heartfield
§

Union Pacific Railroad Company, et. al. § JURY

 

MOTION FOR PARTIAL SUMMARY JUDGMENT
REGARDING SURVIVAL ACTION

Defendants, Union Pacific Railroad Company, Andrew F. Granger, Brent
Waguespack, Ken Rouse, Jack Mann, and National Railroad Passenger Corporation d/b/a
Amtrak (hereinafter collectively referred to as “Defendants”), who hereby move this Court
for a partial summary judgment under Rule 56 of the Federal Rules of Civil Procedure on
the grounds that survival action claims made by plaintiffs should be dismissed as a matter
of law as there is no evidence that Larry Gauthia experienced any conscious pain and
suffering after the accident. Plaintiffs have asserted generalized claims for recovery of
“actual,” “compensatory” and “consequential” damages, and to the extent plaintiffs’
complaint may be read to seek survival action recovery under Louisiana law, then such a
claim can only be made upon proof that Larry Gauthia was conscious after the accident
and did in fact suffer pain. As there is no evidence that Larry Gauthia consciously suffered
any pre-death pain, the plaintiffs’ survival action must be dismissed. For the reasons
stated hereinbelow, there is no genuine issue as to any material fact and defendants are

entitled to judgment in their favor as a matter of law.
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I. FACTS AND ALLEGATIONS

On December 29, 2006, a collision occurred between an automobile driven by Larry
Gauthia and a National Railroad Passenger Corporation (“Amtrak”) train. Larry Gauthia
was killed in the collision. The accident occurred at the intersection of Eddy Street and
Union Pacific Railroad Company's (“UPRR’) main line track in Vinton, Louisiana.

Plaintiffs’ Complaint seeks recovery for “actua

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compensatory” and “consequential”
damages.

The accident giving rise to this accident occurred in Louisiana and the substantive
law that should apply in this case is Louisiana law. In Louisiana, where an accident results
in death, there are two causes of action. There is a survival action under Louisiana Civil
Code Article 2315.1 and a wrongful death action under Louisiana Civil Code Article 2315.2.
The elements of recovery are distinctly different for each claim. The wrongful death action
does not derive or result from a survival action and the survival action does not derive or
result from the wrongful death action. One exists independently of the other. The burden
of proof for each is distinct. One may have a cause of action for and recover damages for
wrongful death and not be able to maintain or prove a cause of action for survival damages
under 2315.1 to recover damages for a survival action under La. C.C. art. 2315.1, there
must be proof that there was conscious pain and suffering by the decedent prior to that
person’s death.

It has become patently clear after investigation and discovery in this matter that
there is not a shred of evidence which could establish that Larry Gauthia survived the initial

impact and certainly no evidence that he regained consciousness, in any manner, at any

 
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time, after the accident. A claim for post accident pain and suffering simply does not exist.
Therefore, any survival action claims should be dismissed.
ll. LAW AND ARGUMENT
Louisiana’s Civil Code provides for the recovery of damages suffered by a decedent

prior to his or her death as the result of an offense or quasi offense. La. Civ. Code art.
2315.1 entitled “Survival action” states as follows:

A. If a person who has been injured by an offense or quasi

offense dies, the right to recover all damages for injury to that

person, his property or otherwise, caused by the offense or

quasi offense, shall survive for a period of one year from the

death of the deceased in favor of:

(1) The surviving spouse and child or children of the
deceased, or either the spouse or child of the children.

(2) The surviving father and mother of the deceased, or
either of them, if he left no souse or child surviving.

(3) The surviving brothers and sisters of the deceased,
or any of them, if he left no spouse, child, or parent
surviving.

Additionally, Louisiana’s Civil Code provides for the recovery of damages suffered
by a decedent's surviving heirs as the result of the decedent's death if that death was
caused by an offense or quasi offense. La. Civ. Code art. 2315.2 entitled “Wrongful death
action” provides:

A. If a person dies due to the fault of another, suit may be
brought by the following persons to recover damages which

they sustained as a result of the death:

(1) The surviving spouse and child or children of the
deceased, or either the spouse or child of the children.

(2) The surviving father and mother of the deceased, or
either of them, if he left no souse or child surviving.

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(3) The surviving brothers and sisters of the deceased,
or any of them, if he left no spouse, child, or parent
surviving.

Louisiana courts have interpreted the survival action under La. Civ. Code art. 2315.1
as meaning:

Survival action comes into existence simultaneously with the
existence of the tort and is transmitted to beneficiaries upon
the victim’s death and permits recovery only for those
damages suffered by the victim from time of injury to moment
of death.’

The survival action and the wrongful death action are two (2) distinct causes of
action that arise at different times, address themselves to the recovery of damages for
different injuries and losses, and accrue to different tort victims. * The survival action
comes into existence simultaneously with the tort, permits recovery only for the damages
suffered by the victim from the time of injury to the moment of death, and is transmitted to
the victim’s beneficiaries upon death. Conversely, the wrongful death action arises only
if and when the victim dies and compensates the beneficiaries for their own individual
injuries that occur at the moment of the victim’s death and thereafter.°

It is well settled that there is no basis for a survival action for pain and suffering

experienced by a decedent unless that person was conscious following the injury. 4

 

' Yarbrough v. Federal Land Bank, 732 So.2d 1244 (La. App. 2 Cir. 1999).

* Walls v. American Optical Corp., 740 So.2d 1262 (La. 1999); Boullt v. State Farm
Mutual Automobile Ins. Co., 752 So.2d 739 (La. 1999).

3 Walls v. American Optical Corp., 740 So.2d 1262 (La. 1999); Boullt v. State Farm
Mutual Automobile Ins. Co., 752 So.2d 739 (La. 1999).

* Daniels v. Conn, 382 So.2d 945 (La. 1980); McDaniel v. Walsh, 234 So.2d 833 (La.
App. 1 Cir. 1981), writ denied, 256 La. 616 237 So.2d 397; Chausse v. Southland Corp., 400
So.2d 1199 (La. App. 1 cir. 1981), writ denied, 404 So.2d 278 (La. 1981); Pierre v. Lallie Kemp

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Defendants would additionally direct this Honorable Court to the decision rendered by
Louisiana’s 1* Circuit in Siemann v. Teston, 517 So.2d 242 (La. App. 1* Cir. 1987),
wherein the court opined:

[Wihere there is no indication that the decedent

consciously suffered any pre-death pain, an award cannot

be made to the survivors for pain and suffering.” (emphasis

added)

The Louisiana Third Circuit has also embraced this rejection of an award for pain
and suffering where the decedent did not consciously suffer after the accident. In
Schexneider v. La. Dept. Of Health & Hospitals, 660 So.2d 508 (La. App. 3% Cir. 1995), the
court stated the following regarding the proof necessary to recover survival damages:

[S]uch an award must be rejected absent any indication of
conscious suffering by the deceased. Id.° (emphasis
added)

This rule of Louisiana law has been recognized by the U.S. Fifth Circuit Court of
Appeal. In Haley v. Pan American World Airways, Inc., 746 F.2d 311 (5" Cir. 1984), the
Court stated:

Louisiana courts condition a “survival” claimant's recovery on
proof of pre-death pain and suffering. Daniels v. Conn, 382
So.2d 945 (La. 1980). This generally requires affirmative

evidence that a decedent was “conscious” after the accident
and did in fact suffer pain. (citations omitted)

 

Charity Hosp., 515 so.2d 614 (La. App. 1 Cir. 1987); Etcher v. Newmann, 806 So.2d 826 (La.
App. 1 Cir 2001).

> Siemann v. Teston, 517 So.2d 242 (La. App. 1 Cir. 1987).

° Schexneider v. La. Dept. of Health & Hospitals, 660 So.2d 508, 511 (La. App. 3 Cir.
1995).

 
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Federal District Courts in Louisiana recognize the above-stated burden of proof to
prevail on a survival claim. For example, Judge Parker of the United States District Court,
Middle District of Louisiana has held:

Damages in a survival action under article 2315 include the
conscious pain and suffering experienced by the deceased as
a result of the injury preceding his death. Mere proof that the
decedent was alive, but unconscious, subsequent to the
accident, is insufficient to establish a basis for recovery....In
order to support an award for conscious pain and suffering
prior to death, Louisiana requires affirmative proof that the
decedent was, in fact, conscious after the accident and did
suffer pain. (citations omitted)

 

Reed v. John Deere, 569 F.Supp. 371, 377 (E.D. La. 1983).
Similarly, the United States District Court, Eastern District of Louisiana Judge
Porteous, has held:
In order to recover for survival actions under Louisiana law
(governed by Louisiana Civil Code Article 2315.1), the plaintiff
has the burden of proving that the decedent experienced
conscious pain or suffering prior to death. See, e.g., Daniels v.
Cohen (sic), 382 So.2d 945 (La. 1980).

Young v. American Reliable Ins. Co., 1999 WL 447455 (E.D. La.)

Plaintiffs bear the burden of establishing that Larry Gauthia was conscious and
suffered pain after the accident and prior to his death. As plaintiffs are unable to establish
this conscious pain and suffering, this Court is prohibited from awarding his survival heirs
any damages for pain and suffering in the survival action.

As petitioners will be unable to establish that Larry Gauthia consciously suffered

after the accident and prior to his death, plaintiffs’ survival action claim should be

dismissed.
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lil. CONCLUSION

There is no evidence to support a contention that Larry Gauthia experienced any
conscious pain and suffering after the impact. As such, it is respectfully submitted that
plaintiffs’ survival claim should be dismissed and plaintiffs should be precluded from
offering argument that plaintiffs are entitled to recover survival action damages.
IV. REQUEST FOR ORAL ARGUMENT

Defendants hereby request oral argument of this motion.

Respectfully submitted,

McLEOD, ALEXANDER, POWEL & APFFEL
A Professional Corporation

Douglas W. Poole (TBA: 16115600)

William R. Floyd (TBA: 07188407

802 Rosenberg, P.O. Box 629

Galveston, TX 77553

(409)763-2481 — Fax: (409)762-1155

DAVIDSON, MEAUX, SONNIER
& McE one “

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BY:

0 EV. GIDEON a eee
810: out Drawer Street
Post Office Drawer 2 8
Lafayette, LA 70502- a) “

(337) 237-1660 — Fax: (337)237- -3676

 

BENCKENSTEIN & OXFORD, L.L.P.
Hubert Oxford, Ill (TBA: 15392000)
3535 Calder Ave., Ste. 300
Beaumont, TX 77706
(409)833-9182 — Fax: (409)833-8819

Attorneys for: National Railroad Passenger
Corporation, Union Pacific Railroad Company,
Andrew F. Granger, Brent Waguespack, Ken
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KYLE L. SBEON DES
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